        Case 1:24-cv-07992-MKV           Document 7        Filed 01/21/25     Page 1 of 1
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UNITED STATES DISTRICT COURT                                                 DATE FILED: 1/21/2025
SOUTHERN DISTRICT OF NEW YORK

 TAVON TURNER, on behalf of himself and all others
 similarly situated,

                            Plaintiff,                                  1:24-cv-7992-MKV
                           -against-                              ORDER TO SHOW CAUSE
 AWAKE STORE LLC,

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff initiated this action by filing a complaint on October 21, 2024. [ECF No. 1]. On

November 25, 2024, Plaintiff filed proof of service. [ECF No. 5]. Defendant was required to

answer or otherwise respond to the Complaint on or before December 12, 2024. As of the date of

this Order, no response was filed and Plaintiff has not prosecuted this case to date.

       Accordingly, IT IS HEREBY ORDERED that, by January 28, 2025, Plaintiff shall file a

letter showing cause why this case should not be dismissed pursuant to Rule 41(b) of the Federal

Rules of Civil Procedure. Plaintiff is on notice that they are ultimately responsible for prosecuting

this case, and that this case may be dismissed because of their chosen counsel’s failure to prosecute

their case. See Link v. Wabash R. Co., 370 U.S. 626, 633–34 (1962).

SO ORDERED.
                                                      _________________________________
Date: January 21, 2025                                      MARY KAY VYSKOCIL
      New York, NY                                          United States District Judge
